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~                                                                        Clerk, U.S. District Court, ILCD

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